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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

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ROBERT PETRILLO,                     *
                                     *      No. 15-1441V
                  Petitioner,        *      Special Master Christian J. Moran
                                     *
v.                                   *      Filed: July 15, 2016
                                     *
SECRETARY OF HEALTH                  *      Petitioner’s motion for a decision
AND HUMAN SERVICES,                  *      dismissing his petition; insufficient
                                     *      proof of causation.
                  Respondent.        *
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Howard S. Gold, Wellesley Hills, MA, for petitioner;
Jennifer L. Reynaud, United States Dep’t of Justice, Washington, DC, for
respondent.

           UNPUBLISHED DECISION DENYING COMPENSATION 1

      Robert Petrillo filed a petition under the National Childhood Vaccine Injury
Compensation Program (“the Program”), 42 U.S.C. §§ 300aa-10 through 34
(2012), on December 1, 2015. His petition alleged that he developed chronic
inflammatory demyelinating polyneuropathy (“CIDP”) as a result of the vaccine
administered to him on November 30, 2012. The information in the record,
however, does not show entitlement to an award under the Program.

           I.   Procedural History

      An initial status conference was held on January 5, 2016. During this
conference, Ms. Petrillo, Mr. Petrillo’s mom, also participated indicating that she

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          The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this ruling on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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had power of attorney and would be submitting the documentation that indicated as
such. The deadline for respondent’s Rule 4 report was suspended, and Mr. Petrillo
was ordered to continue collecting his medical records. On February 16, 2016,
Howard Gold filed a consented motion to substitute attorney with Mr. Gold
representing Mr. Petrillo for the remainder of the proceedings. A status conference
was then held on March 1, 2016, during which Mr. Petrillo was ordered to continue
collecting records and to file a statement of completion by March 31, 2016, as
required by 42 U.S.C. § 300aa-11(c) and Vaccine Rule 2(c)(2)(A).

       On March 31, 2016, Mr. Petrillo moved for an extension of time until April
29, 2016, to file medical records, affidavits, and a statement of completion. The
undersigned granted this request. Mr. Petrillo moved for a second extension of
time, until May 27, 2016, to file the outstanding medical records, affidavit(s), and
statement of completion. Pet’r’s Mot., filed Apr. 29, 2016. Mr. Petrillo stated that
despite “best efforts, some records may be outstanding.” This request was granted.

      The undersigned ordered for Mr. Petrillo to file the outstanding medical
records, affidavits, and a statement of completion by June 17, 2016, after the
previous deadline was missed. Mr. Petrillo filed these medical records and
affidavits on June 17, 2016.

         Following these submissions, Mr. Petrillo moved for a decision to dismiss
his petition. The motion was unopposed. Accordingly, this case is now ready for
adjudication.

       II.   Analysis

       To receive compensation under the National Vaccine Injury Compensation
Program (hereinafter “the Program”), petitioner must prove either 1) that Mr.
Petrillo suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury
Table – corresponding to his vaccination, or 2) that he suffered an injury that was
actually caused by a vaccine. See §§ 300aa-13(a)(1)(A) and 300aa-11(c)(1). An
examination of the record did not uncover any evidence that Mr. Petrillo suffered a
“Table Injury.” Thus, he is necessarily pursuing a causation-in-fact claim.

       Under the Act, a petitioner may not be given a Program award based solely
on the petitioner’s claims alone. Rather, the petition must be supported by either
medical records or by the opinion of a competent physician. § 300aa-13(a)(1). In
this case, because the medical records do not support Mr. Petrillo’s claim, a


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medical opinion must be offered in support. Mr. Petrillo, however, has offered no
such opinion.

       Accordingly, it is clear from the record in this case that Mr. Petrillo has
failed to demonstrate either that he suffered a “Table Injury” or that his injuries
were “actually caused” by a vaccination. Thus, this case is dismissed for
insufficient proof. The Clerk shall enter judgment accordingly.

     Any questions may be directed to my law clerk, Shannon Proctor, at (202)
357-6353.

      IT IS SO ORDERED.

                                               s/Christian J. Moran
                                               Christian J. Moran
                                               Special Master




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